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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                         Plaintiff,                 )
                                                      )
10          v.                                        ) 2:12-CR-132-JAD-(CWH)
                                                      )
11 ERICA BOWDEN-PAYNE,                                )
                                                      )
12                         Defendant.                 )
13                            AMENDED FINAL ORDER OF FORFEITURE

14           On November 14, 2013, the United States District Court for the District of Nevada entered a

15 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); and Title 18, United

16 States Code, Section 924(d)(1) and Title 28, United States Code, Section 2461(c) based upon the plea

17 of guilty by defendant ERICA BOWDEN-PAYNE to a criminal offense, forfeiting the property set

18 forth in the Plea Agreement and the Forfeiture Allegation of the Criminal Indictment and shown by the

19 United States to have the requisite nexus to the offense to which defendant ERICA BOWDEN-

20 PAYNE pled guilty. Criminal Indictment, ECF No. 1; Change of Plea, ECF No. 127; Preliminary

21 Order of Forfeiture, ECF No. 129; Plea Agreement, ECF No. 130; Final Order of Forfeiture, ECF No.

22 159.

23           This Court finds the United States of America published the notice of forfeiture in accordance

24 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

25 from November 16, 2013, through December 15, 2013, notifying all potential third parties and notified

26 known third parties by personal service or by regular mail and certified mail return receipt requested,
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 1 of their right to petition the Court. Notice of Filing Proof of Publication, ECF No. 134. Notice of

 2 Filing Service of Process, ECF No. 162.

 3            On April 16, 2014, the United States Marshals Service personally served Kristin Bonaparte

 4 with the Preliminary Orders of Forfeiture and Notice. Notice of Filing Service of Process, ECF No.

 5 162.

 6            This Court finds no petition was filed herein by or on behalf of any person or entity and the

 7 time for filing such petitions and claims has expired.
 8            This Court finds no petitions are pending with regard to the assets named herein and the time

 9 for presenting such petitions has expired.

10            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

11 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

12 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

13 32.2(c)(2); Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code, Section

14 2461(c); and Title 21, United States Code, Section 853(n)(7) and shall be disposed of according to

15 law:

16                  1. a black Springfield, model XD9, 9mm handgun, bearing serial number XD228554;

17                      and

18                  2. any and all ammunition.

19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

20 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

21 income derived as a result of the United States of America’s management of any property forfeited

22 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

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 1          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 2 certified copies to the United States Attorney’s Office.

 3         Dated:
           DATEDMay    27, day
                  this ___ 2014.
                               of ______________, 2014.

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                                                  UNITED STATES DISTRICT JUDGE
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